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Memorandum

To:           Katie Simon, Clerk. U. S. District Court
              401 W. Trade St., Charlotte, NC 28202

From: Michael Tran, Deputy Clerk

Date: 7/24/2024

In re: Johnny Marcano

District Court Case No.: 3:24-cv-00486

Bankruptcy Case No.: 24-30108


Pursuant to Fed. R. Bankr. P. 8001(a), the above-referenced bankruptcy appeal
requires the attention of the United States District Court Judge for the following reason:

Appellant has failed to file the designation of the items to be included in the record on
appeal and a statement of the issues to be presented to the U.S. District Court as
required by Fed. R. Bankr. P. 8009(a)

Please advise the Bankruptcy Court in writing of any action taken in connection with this
appeal.

Thank you for your assistance in this matter.
